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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

ROTHSCHILD BROADCAST                               §
DISTRIBUTION SYSTEMS, LLC                          §
                                                   §   CIVIL ACTION NO. 2:16-CV-01261-RWS
v.                                                 §   PATENT CASE
                                                   §
BEACHBODY, LLC                                     §

ROTHSCHILD BROADCAST                               §
DISTRIBUTION SYSTEMS, LLC                          §
                                                   §   CIVIL ACTION NO. 2:16-CV-01262-RWS
v.                                                 §   PATENT CASE
                                                   §
CBT NUGGETS, LLC                                   §


ROTHSCHILD BROADCAST                               §
DISTRIBUTION SYSTEMS, LLC                          §
                                                   §   CIVIL ACTION NO. 2:16-CV-01266-RWS
v.                                                 §   PATENT CASE
                                                   §
ABC, INC.                                          §

ROTHSCHILD BROADCAST                               §
DISTRIBUTION SYSTEMS, LLC                          §
                                                   §   CIVIL ACTION NO. 2:16-CV-01448-RWS
v.                                                 §   PATENT CASE
                                                   §
UDEMY, INC.                                        §


                                  CONSOLIDATION ORDER

         The passage of the Leahy-Smith America Invents Act, which clarified the joinder

requirements for cases alleging patent infringement, resulted in a significant increase in the

number of “serially” filed patent cases on the Court’s docket. Such serially filed cases, by their

nature, involve common issues of law or fact, including claim construction and validity. “If

actions before the court involve a common question of law or fact, the court may: (1) join for

hearing or trial any or all matters at issue in the actions; (2) consolidate the actions; or (3) issue
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any other orders to avoid unnecessary cost or delay.” FED. R. CIV. P. 42(a). In applying Rule 42,

a court has considerable discretion. In re EMC Corp., 677 F.3d 1351, 1360 (Fed. Cir. 2012); see

Lurea v. M/V Albeta, 635 F.3d 181, 194 (5th Cir. 2011) (“. . . Rule 42(a) provides district courts

with broad authority to consolidate actions that ‘involve a common question of law or fact.’ ”).

Because the above-styled cases involve a common question of law or fact, consolidating these

cases promotes efficient case management.

        Accordingly, the Court ORDERS that the above-styled cases are consolidated for pretrial

issues only, with the exception of venue. The earliest filed civil action (2:16-cv-01261-RWS)

shall serve as the lead case for the consolidated issues. The Clerk of the Court shall add the

consolidated defendants to the lead case, as well as lead and local counsel only. Any other

counsel who wishes to appear in the lead case shall file a notice of appearance in that case. The

originally filed member cases will remain active for venue motions and trial. Additionally, all

pending motions will be considered as filed and without any prejudice due to consolidation

(responsive briefs should be filed in the same case as the pending motion). Should the parties

file motions to transfer or motions to sever and transfer, the Court will consider these motions

only as to the defendants in the member cases, not as to all defendants in the pretrial consolidated

case.1 See Norman IP Holdings, LLC v. Lexmark Int’l, Inc., No. 6:12CV508, 2012 WL 3307942,

at *4 (E.D. Tex. Aug. 10, 2012). All future pretrial filings, other than venue motions, shall be

filed in the lead case.

        The page limitations in the local rules for Markman briefs and other motions will apply to

the lead case. To further promote judicial economy and to conserve the parties’ resources, the


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  If one or more defendants wish to file a consolidated venue motion, those defendants may, at
their election, file consolidated briefing in the lead case that clearly indicates which defendants
have joined the motion.

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Court encourages the parties to file a notice in the event that there are other related cases

currently pending on the Court’s docket, as well as any future cases Plaintiff intends to file, that

may also be appropriate for consolidation with the lead case.

       SIGNED this 1st day of March, 2017.



                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE




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